       Case 1:17-cv-11730-DJC Document 103-1 Filed 07/12/19 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 GHASSAN ALASAAD, et al.,

              Plaintiffs,

        v.                                          Civil Action No. 17-cv-11730-DJC

 KEVIN McALEENAN, Secretary of the U.S.             Hon. Denise J. Casper
 Department of Homeland Security, in his
 official capacity, et al.,

              Defendants.



PLAINTIFFS’ SUPPLEMENTAL STATEMENT OF UNDISPUTED MATERIAL FACTS

       Plaintiffs hereby submit their Supplemental Statement of Undisputed Material Facts in

support of their Motion for Summary Judgment, ECF No. 90, and in opposition to Defendants’

motion for summary judgment, ECF No. 96.

PLAINTIFF’S SUPPLEMENTAL STATEMENT OF UNDISPUTED MATERIAL FACTS

       125.1. On July 6, 2019, Suhaib Allababidi arrived at the Toronto airport for a flight to

Dallas. Exh. 52 (7/11/19 Allababidi Dec.) at ¶ 1. He traveled with a smartphone and a laptop. Id.

at ¶¶ 3-4, 7-8. At the Toronto preclearance area, U.S. Customs and Border Protection (“CBP”)

searched both Allababidi’s phone and laptop. See id. at ¶¶ 3-10.



Respectfully submitted:                                             Dated: July 12, 2019

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       Case 1:17-cv-11730-DJC Document 103-1 Filed 07/12/19 Page 2 of 2




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                                CERTIFICATE OF SERVICE

       I certify that on July 12, 2019, a copy of the foregoing was filed electronically via the

Court’s ECF system, which effects service upon counsel of record.


                                                     /s/ Saira Hussain
                                                     Saira Hussain




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